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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re
                                                            Chapter 11

    Lordstown Motors Corp., et al.,1                        Case No. 23-10831 (MFW)

                                                            (Jointly Administered)
                                           Debtors.


                         NOTICE OF INCREASE OF HOURLY RATES FOR
                                 BAKER & HOSTETLER, LLP

            PLEASE TAKE NOTICE that Baker & Hostetler, LLP, serving as special litigation and

corporate counsel to the Debtors in this Chapter 11 Case, has adjusted its hourly rates, effective as

of January 1, 2024, in accordance with the attached Exhibit A.

    Dated: January 22, 2024                               BAKER & HOSTETLER LLP

                                                          /s/ Michael A. VanNiel
                                                          Michael A. VanNiel (0073948)
                                                          Key Tower
                                                          127 Public Square, Suite 2000
                                                          Cleveland, Ohio 44114
                                                          Telephone: (216) 621-0200
                                                          Facsimile: (216) 696-0740
                                                          mvanniel@bakerlaw.com

                                                          Special Litigation and Corporate Counsel
                                                          to the Debtors




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                                 2024 RATE INCREASE

                                                      Previous Hourly
                                Position                                 Hourly Rate as of
     Professional                                    Rate [SEE Docket
                           with the Applicant                             January 1, 2024
                                                              No. 199]
Susan L. Atkinson        Paralegal                              260.00              285.00
Cory N. Barnes           Associate                              450.00              500.00
Erica Barrow Clark       Associate                              970.00            1,055.00
Alexis C. Beachdell      Partner                                570.00              620.00
Frederick C. Bingham     Associate                              805.00              895.00
Martin T. Booher         Partner                              1,040.00            1,150.00
Terry M. Brennan         Partner                                720.00              765.00
David H. Brown           Associate                              610.00              680.00
Orga Cadet               Associate                              760.00              885.00
Mario Calabretta         Litigation Coordinator                 315.00              330.00
Todd A. Dawson           Partner                                665.00              705.00
Shareef S. Farag         Partner                                790.00              850.00
Suzanne K. Hanselman     Partner                                805.00              855.00
John J. Harrington       Partner                                770.00              815.00
Scott C. Holbrook        Partner                                690.00              750.00
Daniel M. Kavouras       Partner                                565.00              615.00
Melissa A. Leonard       Partner                                  N/A               795.00
Thomas R. Lucchesi       Partner                                920.00              975.00
Melissa B. Mannino       Partner                              1,020.00            1,115.00
Natalie E. Martucci      Paralegal                              250.00              260.00
Michael H. McDonald      Litigation Project Mgr.                310.00              325.00
Meagan L. Moore          Counsel                                605.00              640.00
Brian M. Murray          Partner                                685.00              730.00
Elliot J. Nash           Associate                              380.00              425.00
Anthony B. Ponikvar      Associate                              500.00              560.00
Scott E. Prince          Associate                              500.00              560.00
Jamie S. Reiner          Associate                              445.00              595.00
Katlin E. Rust           Associate                              530.00              600.00
Sabrina L. Shadi         Partner                                790.00              850.00
Douglas L. Shively       Partner                                555.00              615.00
James A. Slater          Partner                                685.00              745.00
Matthew F. Somogye       Associate                              400.00              445.00
Janet A. Spreen          Partner                                780.00              825.00
Brittany E. Stevenson    Associate                              400.00              445.00
Christopher R. Switzer   Associate                              360.00              405.00
Sarah M. Szalay          Paralegal                              260.00              300.00
Michael A. VanNiel       Partner                                790.00              860.00
Jeffrey R. Vlasek        Partner                                555.00              610.00
Joseph H. Walsh          Associate                              500.00              560.00
